Label Matrix for local noticing   Angelina Savings Bank                          Angelina Savings Bank
0540-9                            P. O. Box 2460                                 1721 Tulane Dr
Case 21-90242                     Lufkin, TX 75902-2460                          Lufkin, TX 75901-5607
Eastern District of Texas
Lufkin
Mon May 9 16:27:03 CDT 2022
Angelina Savings Bank             Arrington Lumber                               Attorney General of Texas
c/o Don Duran                     445 County Rd 1538                             Box 12548, Capitol Station
111 S. 2nd                        Jacksonville, TX 75766                         Austin, TX 78711-2548
Lufkin, TX 75901-3077


(p)BANCORPSOUTH                   BancorpSouth Bank, a division of Cadence Ban   BancorpSouth Bank, a division of Cadence Ban
BANKRUPTCY DEPARTMENT             c/o Blake Rasner                               c/o Blake Rasner
P O BOX 4360                      100 N. Ritchie Road                            HALEY & OLSON, P.C.
TUPELO MS 38803-4360              Ste 200                                        100 N. Ritchie Road, Suite 200
                                  Waco, TX 76712-8517                            Waco, Texas 76712-8517

Bank of America                   (p)BARRETT DAFFIN FRAPPIER TURNER & ENGEL LL   Bank of America, N.A.
Attn: Bankruptcy                  4004 BELT LINE ROAD SUITE 100                  PO BOX 31785
PO Box 31785                      ADDISON TX 75001-4320                          Tampa, FL 33631-3785
Tampa, FL 33631-3785


Sherrie Barfield                  Barfield Family Trust                          Barfield, Sherry 4B Ranch
2106 N. Palm Ct.                  2106 N Palm Ct                                 2106 N Palm Ct
Pasadena, TX 77502-5614           Pasadena, TX 77502-5614                        Pasadena, TX 77502-5614



Bradley C Smith                   Thomas Hugo Brown                              Brown, Thomas
12526 N FM 95                     116 N. Kilgore Street                          Atty for Velvin Oil Co Inc
Nacogdoches, TX 75961-8753        Kilgore, TX 75662-5822                         116 N Kilgore St
                                                                                 Kilgore, TX 75662-5822


Bufkin, James A                   CAC Financial Corp                             CJR Management
Attorney for Hughes Petroleum     2601 Northwest Expressway                      378 CR 4117
PO Box 154138                     Suite 1000E                                    Timpson, TX 75975
Lufkin, TX 75915-4138             Oklahoma City, OK 73112-7236


CJR Management                    Center Broadcasting Co                         Commercial Bank of Texas
378 CR 4117                       PO Box 930                                     215 E Main
Timpson, Texas 75975              Center, Texas 75935-0930                       Nacogdoches, Texas 75961-5223



Commercial Bank of Texas, N.A.    Commercial Bank of Texas, N.A.                 Commercial Bk Texas Na
c/o James W. King                 P.O. Box 635050                                109 W Parker
6420 Wellington Place             Nacogdoches, TX 75963-5050                     Elkhart, TX 75839-7608
Beaumont, TX 77706-3206


Commonwealth Financial Systems    Credit Collection Services                     Deere & Company
Attn: Bankruptcy                  Attn: Bankruptcy                               c/o Teri H. Kelley
245 Main Street                   725 Canton St                                  6750 West Loop S., Ste 920
Dickson City, PA 18519-1641       Norwood, MA 02062-2679                         Bellaire, TX 77401-4117
(p)DEERE CREDIT SERVICES INC            District Clerk Rusk Co                     George Dunn
ATTN LITIGATION & RECOVERY DEPARTMENT   CV 2021-185                                Devlin, Naylor & Turbyfill, PLLC
PO BOX 6600                             PO Box 1687                                5120 Woodway
JOHNSTON IA 50131-6600                  Henderson, TX 75653-1687                   Suite 9000
                                                                                   Houston, TX 77056-1725

Don W. Duran                            ERC                                        Element Financial Corp
P.O. Box 757                            PO Box 23870                               655 Business Center Dr
Lufkin, TX 75902-0757                   Jacksonville, FL 32241-3870                Horsham, PA 19044-3409



(p)FORD MOTOR CREDIT COMPANY            FORD MOTOR CREDIT COMPANY, LLC             First Insurance Funding
P O BOX 62180                           c/o George F. Dunn                         135 S,. LaSalle ST, Dept 8075
COLORADO SPRINGS CO 80962-2180          5120 Woodway Dr., Suite 9000               Chicago, IL 60674-8075
                                        Houston, Texas 77056-1725


Ford Motor Credit                       Ford Motor Credit Company LLC              Lloyd Gillespie
Attn: Bankrutcy                         c/o Devlin, Naylor & Turbyfill, P.L.L.C.   c/o SPF
PO Box 54200                            Attn: George F. Dunn                       Attn: Bill Pedersen, Jr.
Omaha, NE 68154-8000                    5120 Woodway, Suite 9000                   P. O. Box 630870
                                        Houston, TX 77056-1725                     Nacogdoches, TX 75963-0870

Gillespie, Robin                        Gillespie, Robin Trustee                   Marc P. Henry
PO Box 631107                           PO Box 631107                              Offerman & King, LLP
Nacogdoches, TX 75963-1107              Nacogdoches, TX 75963-1107                 6420 Wellington Place
                                                                                   Beaumont, TX 77706-3206


Hughes Petroleum Products Inc           Hughes Petroleum Products, Inc.            IRS
PO Box 900                              P.O. Box 154138                            Internal Revenue Service
Corrigan, TX 75939-0900                 Lufkin, TX 75915-4138                      PO Box 7346
                                                                                   Philadelphia, PA 19101-7346


IRS                                     Internal Revenue Service                   James A. Bufkin
PO Box 7346                             Tyler Division Case Only                   104 W. Lufkin Avenue
Philadelphia, PA 19101-7346             3372 S/SW Loop 323                         Lufkin, TX 75904-2935
                                        Tyler, TX 75701-9222


John Deer Credit                        Teri H. Kelley                             Paul K. Kim
PO Box 5327                             Law Offices of T.H. Kelley, P.C.           Barrett Daffin Frappier Turner & Engel
Madison, WI 53705-0327                  6750 West Loop S.                          15000 Surveyor Blvd. Suite 100
                                        Ste. 920                                   Addison, TX 75001-4417
                                        Bellaire, TX 77401-4117

James W. King                           Lloyd Kraus                                Kristy Smith
Offerman & King, L.L.P.                 Plaza Tower                                12526 FM 95
6420 Wellington Place                   110 N. College Ave., 12th Floor            Nacogdoches, TX 75961-8753
Beaumont, TX 77706-3206                 Tyler, TX 75702-7226


LVNV Funding, LLC                       Charles E. Lauffer Jr.                     William H. Lively Jr.
Resurgent Capital Services              Ritcheson, Lauffer & Vincent, P.C.         WHL, PLLC
PO Box 10587                            Two American Center                        432 S. Bonner Ave.
Greenville, SC 29603-0587               821 ESE Loop 323, Suite 530                Tyler, TX 75702-8033
                                        Tyler, TX 75701-9779
Lloyd Gillespie                         Lloyd Gillespie                     Lloyd Gillespie
8211 S US Hwy 59                        PO Box 631107                       c/o Bill Pedersen
Nacogdoches, TX 75964-8718              Nacogdoches, TX 75963-1107          PO Box 630870
                                                                            Nacogdoches, TX 75963-0870


Lloyd Kraus                             Lucky Stop                          Midland Cr Mgmt Midland Funding
Chapter 13 Trustee                      1218 Douglas Rd                     PO Box 2037
110 N College Ste 1200                  Nacogdoches, TX 75964-4904          Warren, MI 48090-2037
Tyler, TX 75702-7242


Midland Credit Management, Inc.         Midland Fund                        Nacogdoches County et al
PO Box 2037                             Attn: Bankruptcy                    Perdue Brandon Fielder et al
Warren, MI 48090-2037                   350 Camino De La Reine, Suite 100   PO Box 2007
                                        San Diego, CA 92108-3007            Tyler, TX 75710-2007


Nacogdoches County, et al.              North Texas Tollway Authority       Online Collections Deep ET Coop
Perdue Brandon Fielder Collins & Mott   PO Box 660244                       Attn: Bankruptcy
PO Box 2007                             Dallas, TX 75266-0244               PO Box 1489
Tyler, TX 75710-2007                                                        Winterville, NC 28590-1489


PNC EQUIPMENT FINANCE LLC               PNC Equipment Fin LLC-Element       PNC Equipment Finance
ROBERT E WALTON/MATTHEW A FOLEY         co Robert Walton Esq                Customer Service -Bankruptcy
FLAMM WALTON HEIMBACH                   794 Penilyn, Ste 100                PO Box 609
794 PENLLYN PIKE, SUITE 100             Blue Bell, PA 19422-1669            Pittsburgh, PA 15230-0609
BLUE BELL, PA 19422-1669

PRA Receivables Management, LLC         Bill Pedersen Jr.                   Pederson, Bill, Atty
PO Box 41021                            P. O. Box 630870                    118 E Hospital Street, no 400
Norfolk, VA 23541-1021                  Nacogdoches, TX 75963-0870          Nacogdoches, TX 75961-5242



Pederson, Bill, Atty                    Perdue Brandon Fielder              Polk County Clerk
PO Box 630870                           Bullard City Ct                     Civil case 21-CC-CV-0053
Nacogdoches, Texas 75963-0870           PO Box 9132                         101 W Mill Street, Ste 265
                                        Amarillo, TX 79105-9132             Livingston, TX 77351-3233


Quantum3 Group LLC as agent for         R & D Distributing                  R&D Distributing, Ltd.
CF Medical LLC                          PO Box 1507                         c/o Ritcheson, Lauffer & Vincent, PC
PO Box 788                              Center, TX 75935-1507               821 ESE Loop 323, Suite 530
Kirkland, WA 98083-0788                                                     Tyler, TX 75701-9779


R&D Distributing, Ltd.                  RMA Toll Processing                 ROBERT E WALTON/MATTHEW A FOLEY
c/o Charles E. Lauffer, Jr.             PO Box 734182                       FLAMM WALTON HEIMBACH
821 ESE Loop 323, Suite 530             Dallas, TX 75373-4182               794 PENLLYN PIKE
Tyler, TX 75701-9779                                                        SUITE 100
                                                                            BLUE BELL, PA 19422-1669

RPM for Dish Network                    Blake Rasner                        Robyn Gillespie
20816 44th Ave West                     Haley & Olson, P.C.                 PO Box 633210
Lynnwood, WA 98036-7799                 100 Ritchie Road, Suite 200         Nacogdoches, Texas 75963-3210
                                        Waco, TX 76712-8517
Robyn Gillespie                                      Sherrie Barfield 4B Ranch                            Sherrie Barfield 4B Ranch
c/o Bill Pedersen                                    2106 N. Palm Ct.                                     c/o William H. Lively, Jr
PO Box 630870                                        Pasadena, TX 77502-5614                              WHL, PLLC
Nacogdoches, Texas 75963-0870                                                                             432 S. Bonner Ave
                                                                                                          Tyler TX 75702-8033

Southside Bank                                       Southside Bank                                       Southside Bank
c/o Charles E. Lauffer, Jr.                          PO Box 1079                                          c/o Charles E. Lauffer, Jr.
Two American Center                                  Tyler, TX 75710-1079                                 821 ESE Loop 323, Suite 530
821 ESE Loop 323, Suite 530                                                                               Tyler TX 75701-9779
Tyler, TX 75701-9779

Southwest Recovery Service                           (p)TEXAS COMPTROLLER OF PUBLIC ACCOUNTS              State of Louisian
17311 Dallas Parkway                                 REVENUE ACCOUNTING DIV - BANKRUPTCY SECTION          Civil Division
Suite 235                                            PO BOX 13528                                         PO Box 94005
Dallax, TX 75248-1132                                AUSTIN TX 78711-3528                                 Baton Rouge, LA 70804-9005


Walter David Stephens                                Stuart Lippman & Assoc                               Sunoco
P.O. Box 444                                         5447 E 5th Street, no 110                            4123 Old Tyler Rd
103 E. Denman                                        Tucson, AZ 85711-2345                                Nacogdoches, TX 75964-1435
Lufkin, TX 75901-3993


Syncrony Bank                                        Synerprise Consulting Services, Inc                  Texas Auto North
PO Box 965064                                        Attn: Bankruptcy                                     11655 North Fwy
Orlando, FL 32896-5064                               5651 Broadmoor                                       Houston, TX 77060-3705
                                                     Mission, KS 66202-2407


Texas Workforce Commission                           Meme Latasha Thomas                                  Trail Co
PO Box 149080                                        Perdue Brandon Fielder Collins & Mott, L             116 Chad Drive
Austin, TX 78714-9080                                PO Box 2007                                          Mansfield, LA 71052-4565
                                                     Tyler, TX 75710-2007


Transworld Systems                                   U. S. Trustee EDTX                                   U.S. Attorney General
PO Box 15520                                         300 Plaza Tower                                      Department of Justice
Wilmington, DE 19850-5520                            110 N. College Ave                                   Main Justice Building
                                                     Tyler, TX 75702-7226                                 10th & Constitution Ave., NW
                                                                                                          Washington, DC 20530-0001

US Trustee                                           United States Attorney BMT                           Velvin Oil Co Inc
Office of the U.S. Trustee                           350 Magnolia Ave, Ste 150                            PO Box 993
110 N. College Ave.                                  Beaumont, TX 77701-2254                              Henderson, TX 75653-0993
Suite 300
Tyler, TX 75702-7231

W. David Stephens                                    Woodco Leasing                                       Woodco Leasing, LLC
P. O. Box 444                                        PO Box 2279                                          c/o Charles E. Lauffer, Jr.
103 E Denman Ave                                     Woodville, TX 75979-2279                             821 ESE Loop 323, Suite 530
Lufkin, Texas 75901-3993                                                                                  Tyler, TX 75701-9779




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).
BancorpSouth                                         Bank of America, N.A.                                Deere & Company d/b/a John Deere Financial
Attn: Bankruptcy                                     c/o BDFTE, LLP                                       PO Box 6600
178 Commerce St                                      4004 Belt Line Rd Ste. 100                           Johnston, IA 50131-6600
Batesville, MS 38606                                 Addison, TX 75001


(d)Abbey U. Dreher                                   FORD MOTOR CREDIT COMPANY LLC                        State Comptroller Public Accts
Barrett Daffin Frappier Turner & Engel               PO Box 62180                                         Capitol Station
4004 Beltline Road, Suite 100                        Colorado Springs, CO 80962                           Austin, TX 78774
Addison, TX 75001-4320




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)IRS                                               (d)Nacogdoches County, et al.                        (d)PRA Receivables Management, LLC
PO Box 7346                                          Perdue Brandon Fielder Collins & Mott                PO Box 41021
Philadelphia, PA 19101-7346                          PO Box 2007                                          Norfolk, VA 23541-1021
                                                     Tyler, TX 75710-2007


(d)Bradley C Smith                                   (d)Velvin Oil Company, Inc.                          End of Label Matrix
12526 N FM 95                                        P.O. Box 993                                         Mailable recipients   116
Nacogdoches, TX 75961-8753                           Henderson, TX 75653-0993                             Bypassed recipients     5
                                                                                                          Total                 121
